Case 1:18-cV-00301-BLW Document 1-2 Filed 07/07/18 Page 1 of 1
CIVIL COVER SHEET

Thc JS 44 civil cover shcct and thc infommlion contained herein neither re luce nor Sup%lemcni the iiiin and service of`picadings or olhcr punch as re uir\:d by luw, except as

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lcrk of Court for the

 

I. (a) PLAINTIFFS

LOLETT|MA JOHNSON

(b] Coumy of Rcsidcncc oi`First Lisicd Plninlii`f Ada
(E/\'CEPT]N U.S. PL{[|\'T[.F'F CA§`ES}

(C) A[iOz'nC S (F`i`rm i\"alm'. Addrr'_v.¢, and Tc'fr.’]l»'ram* Nurnb¢'r)

Rona|do A. ou|ter

776 E. Riverside Drive, Suiie 206, Eag|e, |D 836‘16

(208) 672 6112

DEFENDANTS

NO'I'E:

Alil;>m¢ys (U`Knomr)

 

Counly of Residencc of First Listcd Dcfcndant

ST. LUKE'S REG|ONAL MED|CAL CENTER. LTD

(}N' U..S`. PLA.|'NT]FF CA.‘)`ES ONL}D

iN LANI) CONDEMNAT[ON CASF.S, USF. THE LOCATION OF
THF. TRACT OF LAND INVOLVF,D.

 

H. BASlS OF JUR!SDICTI ON (ance un "X":'n(]r:r:lia.\t Oul\')

 

(For Di\'c'rsr`n’ Catm' 0111[\;1

III. CIT'ZENSHIP OF PRINCIPAL PARTIES (Pi'ac(' an "X”in Orre Boxfor Plairril`jf

and Om» Boxfnr Dc'fendanr)

 

 

 

 

 

 

 

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13 740 Raiiway Labor Act

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FEDERAL TAX SUITS

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V. ORlGIN (P.'ucc an “X" in Om’ Box Ou{v)

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Cite the U.S. Civii Stnrute under which you are filing (Da mn cirejuri.rdr'crr'anul immune unless divem'ry):

42 U.S.C. 5 20009 (Title Vl| of the Civil Riqhts Act of 1964 as amended) and i.C. 05 67-5901 and 67-5909(1).
Bricf` description of cause:

Un|awfu| discrimination based on gender and race during P|al'ntii‘f‘s employment with Defendant

VI. CAUSE OF ACTION

 

 

 

 

 

VII. REQUESTED IN 13 cHECK tr THls ls A cLAss Ac'noN DEMANI) s cHECK YES only if demanded in complaint
COMPLA[NT: UNDER RULE 23. F-R-Cv-P. 300,000.00 JURY DI~:MAND= g res r:iNo
VIII. RELATED CASE(S)
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